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                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12   Michael Trujillo, individually and on
13   behalf of all others similarly situated,    No. 5:19-cv-02072-ODW-SP

14                   Plaintiff,                  Hon. Otis D. Wright, II
15         v.
                                                 [PROPOSED] ORDER
16                                               GRANTING STIPULATION FOR
     Free Energy Savings Company, LLC
17   d/b/a Quality Conservation Services, a      EXTENSION OF TIME FOR
     Delaware limited liability company,         PLAINTIFF TO MOVE FOR
18                                               CLASS CERTIFICATION
                     Defendant.
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28   [PROPOSED] ORDER GRANTING             -1-
     STIPULATION RE: CLASS
     CERTIFICATION DEADLINE
Case 5:19-cv-02072-ODW-SP Document 21-2 Filed 12/11/19 Page 2 of 2 Page ID #:57




 1         The Court, having considered the stipulation of Plaintiff Michael Trujillo
 2   (“Plaintiff”) and Defendant Free Energy Savings Company, LLC (“Defendant”) to
 3   extend the deadline to file Plaintiff’s Motion for Class Certification, the declaration
 4   of Patrick H. Peluso in support of the stipulation, and for good cause appearing,
 5   hereby orders that Plaintiff’s deadline to file his Motion for Class Certification is
 6   vacated and counsel for both Parties shall submit a proposed date in their case
 7   management statement.
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 9   IT IS SO ORDERED.
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12   Date: ___________________               ______________________________
                                             Hon. Otis D. Wright, II
13                                           United States District Judge
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28   [PROPOSED] ORDER GRANTING              -2-
     STIPULATION RE: CLASS
     CERTIFICATION DEADLINE
